                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION

  UNITED STATES OF AMERICA                   )
                                             )
                                             )      Case No.: 4:18-cr-00011
  v.                                         )
                                             )
                                             )
  MARCUS JAY DAVIS, et al.,                  )
                                             )      By:  Michael F. Urbanski
          Defendants.                        )      ChiefUnited States District Judge

                                            ORDER

          This matter is before the court on two motions in limine asking for the exclusion of

  certain evidence offered by the government, or in the. alternative, a Daubert hearing to

  determine if the government's toolmark and ballistics evidence is sufficiently reliable under

  Federal Rule of Evidence 702. ECF Nos. 570, 581, & 591. A number of defendants have filed

  notices joining these motions. See, e.g., ECF Nos. 571, 573, 576, 584, 595, 596, 604.

          To the extent they request a Daubert hearing on the government's proposed evidence,

  ECF Nos. 570, 581, and 591 are GRANTED. A hearing to consider if the evidence offered

  by the government and objected to by the defendants meets the standards articulated by

  Daubert v. Merrill Dow Pharmaceuticals, 509 U.S. 579 (1993), Kumho Tire Co., Ltd. v.

  Carmichael, 526 U.S. 137 (1999), and Federal Rule of Evidence 702 will be held on September

  3-4, 2019, beginning at 9:30am on September 3. The government is DIRECTED to produce

  at the hearing its three proposed toolmark/ballistics evidence so the court may hear from

  them.




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        To the extent they request the exclusion of evidence, ECF Nos. 570, 581, and 591 are

  TAKEN UNDER ADVISEMENT, pending the completion of the September 3-4 hearing.

        It is so ORDERED.

                                           Entered:




                                                        . rbanski
                                                      tates DistrictJudge




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